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				IN THE MATTER OF THE REINSTATEMENT OF BUSBY2014 OK 116Case Number: SCBD-6126Decided: 12/16/2014THE SUPREME COURT OF THE STATE OF OKLAHOMA
Cite as: 2014 OK 116, __ P.3d __

				
NOTICE: THIS OPINION HAS NOT BEEN RELEASED FOR PUBLICATION. UNTIL RELEASED, IT IS SUBJECT TO REVISION OR WITHDRAWAL. 

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In the Matter of the Reinstatement of Patrick Ryan Busby to Membership in the Oklahoma Bar Association and to the Roll of Attorneys.




ORDER


The petitioner, Patrick Ryan Busby (Busby/attorney) was stricken from the roll of attorneys from the Oklahoma Bar Association on June 7, 2012, after he voluntarily resigned for non payment of dues. Petitioner moved to Louisiana and is now licensed to practice law in Alabama and Louisiana. On October 15, 2014, he petitioned this Court for reinstatement as a member of the Oklahoma Bar Association.

On July 23, 2014, a hearing was held before the Trial Panel of the Professional Responsibility Tribunal and the tribunal recommended that the attorney be reinstated. Upon consideration of the matter, we find:



1) The attorney has met all the procedural requirements necessary for reinstatement in the Oklahoma Bar Association as set out in Rule 11, Rules Governing Disciplinary Proceedings, 5 O.S. 2011, ch.1, app. 1-A.

2) The attorney has established by clear and convincing evidence that he has not engaged in the unauthorized practice of law in the State of Oklahoma.

3) The attorney has established by clear and convincing evidence that he possesses the competency and learning in the law required for reinstatement to the Oklahoma Bar Association.

4) The attorney has established by clear and convincing evidence that he possesses the good moral character which would entitle him to be reinstated to the Oklahoma Bar Association.



IT IS THEREFORE ORDERED that the petition of Patrick Ryan Busby for reinstatement be granted effective January 1, 2015. The costs associated with these proceedings, in the amount of $1087.14 shall be paid prior to reinstatement.

DONE BY ORDER OF THE SUPREME COURT THE 15TH DAY OF DECEMBER, 2014.


/S/VICE CHIEF JUSTICE



ALL JUSTICES CONCUR.







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